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Attorneys for the Debtor

UNITED STATES BANKRUPTCY COURT

DISTRICT OF IDAHO
In Re: Case No. 24- -NGH
MILLENKAMP CATTLE, INC. Chapter 11

Debtor.

DECLARATION OF KRYSTAL R. MIKKILINENI IN SUPPORT OF
APPLICATION TO EMPLOY LEAD COUNSEL FOR DEBTORS IN POSSESSION!

* The Debtors in the Chapter 11 Cases are: Millenkamp Cattle, Inc.; Idaho Jersey Girls LLC; East Valley
Cattle, LLC; Millenkamp Properties, L.L.C.; Millenkamp Properties If LLC; Millenkamp Family LLC;
Goose Ranch, LLC; Idaho Jersey Girls Jerome Dairy LLC; Black Pine Cattle LLC; and Millenkamp
Enterprises LLC. This Declaration is in support of an Application that seeks employment to represent ALL
of the Debtors in the respective bankruptcy cases, which are being sought to be jointly administered.

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STATE OF IOWA )
) ss:
COUNTY OF POLK )

Krystal R. Mikkilineni, being first duly sworn upon oath, deposes, and says:

h I am a practicing attorney and an attorney with the law firm of Dentons Davis
Brown PC (“Dentons”) with offices at 215 10" Street, Suite 1300, Des Moines IA 50309, (515)
246-7943. Dentons is a global legal practice providing client services worldwide through its
member firms and affiliates.

2. I have read the application of Millenkamp Cattle, Inc. and its affiliated debtors and
debtors in possession, for authority to employ and retain Dentons.

3. My firm previously received a retainer from the Debtors of $200,000.00. Pre-filing
fees and expenses drawn against the retainer total $124,236.04, leaving approximately $75,763.96
remaining in the retainer, which is currently being held in our firm’s client trust account on behalf
ot Debtors.

4, I and the law firm of Dentons have no connection with the Debtors other than
previous pre-petition representation related to these bankruptcy cases.

5. I and the law firm of Dentons have no connection with any personnel employed in
the Office of the United States Trustee, the creditors or any party in interest, nor with their
respective attorneys or accountants, other than normal professional relationships with attorneys
and accountants except as follows:

a. Dentons may represent certain creditors or investors in matters unrelated to the
Debtors. Other than as described below, none of that representation involves the

Debtors or any claims against the Debtors. If such a conflict arises, we will either

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seek an appropriate conflict waiver, or have the Debtors’ representation handled by
Johnson May, our co-counsel.

b. Dentons currently represents Metropolitan Life Insurance Company or certain
related entities (“MetLife”) in other proceedings unrelated to these Debtors. Such
representation is not currently in conflict with the Debtors. However, should the
Debtors become adverse to MetLife, those matters will be handled by Johnson May.

c. Dentons also currently represents Sandton Capital Partners (“Sandton”) in other
proceedings unrelated to these Debtors. Such representation is not currently in
conflict with the Debtors. Should the Debtors become adverse to Sandton, those
matters will also be handled by Johnson May.

6. I believe I and the Dentons law firm are disinterested persons as defined in
Bankruptcy Code section 101(14) and represent no interest adverse to the debtors in possession or
bankruptcy estates in matters upon which | am to be engaged, and believe that I and the law firm
can undertake representation of the debtors in possession in these cases without any type of
restriction.

7. The hourly rates to be charged by myself and other professionals at my firm are
outlined in the engagement letter between my firm and Debtors, a copy of which is attached to the
Application to Employ Counsel as Exhibit A.

8. I declare under penalty of perjury that the foregoing is true and correct.

DATED this 2nd day of April, 2024.

KRYSTAL R. MEKKILINENI

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